
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-08-346-CV

CURTIS BERRY	APPELLANT



V.



PLAZA MEDICAL CENTER	APPELLEE



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FROM THE 17TH DISTRICT COURT 
OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On January 6, 2009, we notified appellant that his brief had not been filed as required by Texas Rule of Appellate Procedure 38.6(a). &nbsp;
Tex. R. App. P.
 38.6(a). &nbsp;We stated we could dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;We have not received any response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 
Tex. R. App. P.
 38.8(a), 42.3(b).
			

PER CURIAM 		





PANEL: &nbsp;GARDNER, WALKER, and MCCOY, JJ. &nbsp;



DELIVERED: February 12, 2009 







FOOTNOTES
1:See 
Tex. R. App. P.
 47.4.




